      Case 1:21-cr-00500-CJN Document 41 Filed 03/13/23 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )     Case No. 21-cr-00500
                                 )
MICHAEL L. BROCK                 )
                                 )
               Defendant         )
                                 )



                MOTION TO WITHDRAW APPEARANCE




                                       William L. Shipley, Jr., Esq.
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                                       Attorney for Defendant
        Case 1:21-cr-00500-CJN Document 41 Filed 03/13/23 Page 2 of 2




      NOW COMES William L. Shipley and moves this Honorable Court to

allow him to withdraw his appearance as counsel for the following reasons:

   1. John M. Pierce is taking over as primary counsel.

   2. Mr. Pierce has been co-counsel for the entirety of the case, so no undue

      delay shall be caused.

      WHEREFORE, undersigned counsel requests that he be allowed to

withdraw his appearance as counsel in this matter.



Dated: March 13, 2023               Respectfully submitted,

                                    /s/ William L. Shipley
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